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United States District Court
Southern District of Texas g 2

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Nathan Ochsner, Clerk

- JUN 01 2022

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION
UNITED STATES OF AMERICA § :
§ -
v. § CRIMINAL NO. e993. aa.
§ M-22-0914
RODRIGO LOPEZ § :
also known as “Rigo” §

SEALED INDI ENT
THE GRAND JURY CHARGES:

Count One
From on or about March 19, 2018 and continuing through on or about August 22, 2018,

in the Southern District of Texas, the Defendant

RODRIGO LOPEZ
also known as “Rigo”

did corruptly give, offer, or agree to give a thing of value to any person intending to influence
and reward an agent of the La Joya Independent School District (“LJISD”), a local government
that received benefits in excess of $10,000 pursuant to a Federal program involving a grant,
contract, subsidy, loan guarantee, and other forms of Federal assistance in 2018, in connection ~
with any business, transaction, or series of transactions of such local government and agency
involving something of value of $5,000 or more: namely, Defendant gave cash to an LJISD
employee intending to influence and reward said employee for approving LJISD purchases
totaling approximately $70,010.00 from Xizaka, LLC, a business entity owned by Defendant.

All in violation of Title 18, United States Code, Section 666(a)(2).

 

 
 

 

 

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Count Two
From on or about March 19, 2018 and continuing through on or about August 22, 2018,
in the Southern District of Texas, the Defendant

RODRIGO LOPEZ
also known as “Rigo”

did knowingly and intentionally aid and abet an agent of a local government, namely an —
employee of the La Joya Independent School District (“LJISD”), to embezzle, steal, obtain by
fraud, or otherwise without authority knowingly convert to the use of any person other than the
rightful owner, and intentionally misapply, property that is valued at $5,000 or more, and is
owned by, or is under the care, custody, or control of LJISD: namely, approximately $70,010.00
in LJISD funds used to pay invoices submitted by Xizaka, LLC, a business entity owned by
Defendant.
All in violation of Title 18, United States Code, Sections 666(a)(2) and 2.

NOTICE OF CRIMINAL FORFEITURE
18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

Pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United
States Code, Section 2461 (c), the United States gives notice to the defendant,
RODRIGO LOPEZ
that upon conviction for an offense in this Indictment, all property, real or personal, which
constitutes or is derived from proceeds traceable to such offense, is subject to forfeiture.
Property Subject to Forfeiture
The property subject to forfeiture is approximately $45,136.76. In the event that a

condition listed in Title 21, United States Code, Section 853 exists, the United States will seek
   

A TRUE BILL

   

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